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                             UNITED STATE DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

BANK OF AMERICA, a national                  )
banking association,                         )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Case No. 4:10CV563 RWS
                                             )
ANALYTICS, INC., et al.,                     )
                                             )
       Defendants.                           )

       ORDER GRANTING AMENDED AND RESTATED APPLICATION FOR
     ALLOWANCE OF FEES AND EXPENSES FILED BY MORRIS-ANDERSON &
                         ASSOCIATES, LTD.

       This matter comes before the Court on the Amended and Restated Application for

Allowance of Fees and Expenses (the “Application”) filed by Morris-Anderson & Associates,

Ltd. (“Applicant”), and it appearing that notice of the Application was good and sufficient under

the particular circumstances and that no further notice need be given; the only objection thereto

having been withdrawn;

       IT IS HEREBY ORDERED that the Application [# 95] is GRANTED as to the relief

requested therein.

       IT IS FURTHER ORDERED that Applicant’s fees in the amount of $470,532.50 and

expenses in the amount of $43,064.14 incurred during the period April 7, 2010 through August

31, 2010 are approved and allowed.

       IT IS FURTHER ORDERED that Analytics, Inc., Aniclin Preclinical Services LLC,

Chemir Analytical Services LLC, CAS-MI Laboratories LLC and the division of Azopharma

Contract Pharmaceutical Services LLC that was formerly known as Cyanta Analytical

Laboratories, Inc. are authorized and directed to pay to Applicant all Approved Fees and
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Expenses that have not been previously paid to-date.



                                                    ___________________________________
                                                    RODNEY W. SIPPEL
                                                    UNITED STATES DISTRICT JUDGE

Dated this 13th day of January, 2011.




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